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                                 UNITED STATES DEPARTMENT OF JUSTICE
                                 OFFICE OF THE UNITED STATES TRUSTEE
                                         DISTRICT OF DELAWARE

IN THE MATTER OF:                                         :       Chapter 11
                                                          :
Scottish Holdings, Inc., et al.,                          :       Case No.18-10160 (LSS)
                                                          :
                                                          :       Jointly Administered
                                                          :       NOTICE OF APPOINTMENT OF
          Debtor(s).                                      :       COMMITTEE OF UNSECURED
----------------------------------                        :       CREDITORS



       Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following persons to
the Committee of Unsecured Creditors in connection with the above captioned cases:

1.                 Wilmington Trust Corporation as Indenture Trustee, Attn: Rita Marie Ritrovato &
                   Steven Cimalore, 1100 N Market St. Wilmington, DE 19890, Phone: (302) 636 5137; Fax:
                   (302) 636-4140

2.                 Hildene Opportunities Master Fund, Ltd., Attn: Jennifer Nam, 700 Canal St., Ste. 12C,
                   Stamford, CT 06902, Phone: (203) 517-2555, Fax: (203) 517-2548

3.                 Security Life of Denver Insurance Co. Attn: John Longwell, Esq., 901 K St., Ste. 220,
                   Washington, D.C. 20001, Phone: (202) 383-1772




                                                  ANDREW R. VARA
                                                  Acting United States Trustee, Region 3


                                                  /s/ Timothy Fox for
                                                  T. PATRICK TINKER
                                                  ASSISTANT UNITED STATES TRUSTEE

DATED: February 20, 2018

Attorney assigned to this Case: Timothy Fox, Esq., Phone: (302) 573-6491, Fax: (302) 573-6497
Debtors’ Counsel: Gregory Werkheiser, Esq., Phone: (302) 658-9200, Fax: (302) 452-4663
